                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                  3:03CR219-1

UNITED STATES OF AMERICA            )
                                    )
vs.                                 )
                                    )                      ORDER
ANEWA TIARI-EL,                     )
                                    )
      Defendant.                    )
____________________________________)

       This matter is before the court upon the defendant’s Motion for Recusal of Prosecutor.
The court has reviewed the filings of both the defendant and the government. The defendant’s
motion lacks legal or factual support and will therefore be denied.
       IT IS THEREFORE ORDERED that defendant’s Motion for Recusal of Prosecutor is
hereby DENIED.


                                               Signed: June 22, 2009




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